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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1482V
                                          UNPUBLISHED


    GEORGE STATTNER,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: September 14, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Brachial Neuritis;
                                                                Shoulder Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On September 25, 2019, George Stattner filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered brachial neuritis and/or a shoulder injury
related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine
received on November 3, 2017. Petition at 1; Stipulation, filed September 14, 2021, at
¶¶ 2-4. Petitioner further alleges the vaccine was administered in the United States, he
experienced residual effects of his alleged injury for more than six months, and there has
been no prior award or settlement of a civil action for damages on his behalf as a result
of his condition. Petition at ¶¶ 4, 31-33; Stipulation at ¶¶ 3-5. “Respondent denies that
petitioner sustained brachial neuritis and/or a SIRVA Table injury; denies that the flu
vaccine caused his alleged shoulder injury or any other injury or condition; and denies
that his current condition is a sequelae of a vaccine-related injury.” Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        Nevertheless, on September 14, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $30,000.00 in the form of a check payable to Petitioner;
                and

            •   A lump sum of $1,191.49,3 representing reimbursement of a Medicaid
                lien for services rendered to Petitioner by CountyCare Health Plan, in
                the form of a check payable jointly to Petitioner and Equian, and
                mailed to:

                                 Equian
                                 Attention: Christopher Saunders
                                 P.O. Box. 182643
                                 Columbus, OH 43218

     Petitioner agrees to endorse this check to Equian. These amounts represents
compensation for all damages that would be available under Section 15(a).

Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 4

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or cause of
action CountyCare Health Plan and/or Equian may have against any individual as a result of any Medicaid
payments the CountyCare Health Plan and/or Equian have made to or on behalf of George Stattner as a
result of his alleged vaccine-related injury suffered on or about November 3, 2017, under Title XIX of the
Social Security Act, see 42. U.S.C. § 300aa-15(g),(h).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                       )
GEORGE STATTNER,                                       )
                                                       )
                        Petitioner,                    )
                                                       )         No. 19-1482 (ECF)
V.                                                     )         Chief Special Master Corcoran
                                                       )
SECRETARY OF HEALTH                                    )
AND HUMAN SERVICES,                                    )
                                                       )
                        Respondent.                    )


                                          STIPULATION

       The parties hereby stipulate to the following matters:

        I.      Petitioner filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of an influenza

(" flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R.

§ 100.3 (a).

       2.       Petitioner received a flu vaccine on November 3, 2017.

       3.       These vaccine was administered within the United States.

       4.       Petitioner alleges that he sustained brachia! neuritis and/or a shoulder injury

related to vaccine administration ("SIRVA") within the time period set forth in the Table. He

further alleges that he has experienced residual effects of his alleged injury for more than six

months.

       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages on his behalf as a result of his condition.
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        6.      Respondent denies that petitioner sustained brachia} neuritis and/or a SIRVA

Table injury; denies that the flu vaccine caused his alleged shoulder injury or any other injury or

condition; and denies that his current condition is a sequelae of a vaccine-related injury.

        7.      Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.      As soon as practicable after an entry of j udgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(I), the Secretary of Health and Human

Services will issue the following vaccine compensation payments:

       A.       A lump sum of $30,000.00 in the form of a check payable to petitioner; and

        B.      A lump sum ofSl,191.49, 1 representing reimbursement of a Medicaid lien for
                services rendered to petitioner by CountyCare Health Plan, in the form of a check
                payable jointly to petitioner and Equian, and mailed to:

                                              Equian
                                  Attention: Christopher Saunders
                                          PO Box 182643
                                       Columbus, OH 43218

       Petitioner agrees to endorse this check to Equian. These amounts represent compensation

for all damages that would be available under 42 U.S.C. § 300aa-15(a).




1
  This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or
cause of action CountyCare Health Plan and/or Equian may have against any individual as a
result of any Medicaid payments the CountyCare Health Plan and/or Equian have made to or on
behalf of George Stattner as a result of his alleged vaccine-related injury suffered on or about
November 3, 2017, under Title XIX of the Social Security Act, see 42 U.S.C. § 300aa-15(g), (h).


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        9.      As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10.     Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- 15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.     Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees, and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa- l 5(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action



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(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 3, 2017, as

alleged by petitioner in a petition for vaccine compensation filed on or about September 25,

2019, in the United States Court of Federal Claims as petition No. 19-1482V.

        14.    If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.    If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        I 6.   This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.




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        17.    This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that petitioner sustained brachia! neuritis and/or a

SIRVA Table injury; that the flu vaccine caused any other injury; or that his current condition is

a sequelae of a vaccine-related injury.

        18.    All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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Respectfully submitted,


PETITIONER: ~


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ATTORNEY OF RECORD                        AUTHORIZED REPRESENTATIVE
FOR PETmONER:                             OF THE ATTORNEY GENERAL:
            ~      -
       ~
          A.
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                                          HEATHER L. PEARLMAN
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"-"hite Plains, NY 11209                  U.S. Department of Justice
Tel: 914-729-1110                         P.O. Box 146
Email: jim@vaccinelawyers.com             Benjamin Frankl.in Station
                                          Washington, DC 20044-0146


AUfflORIZED REPRESENTATIVE                ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                RESPOND:ENT:
AND HUMAN SERVICES:

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TAMARA OVERBY                             IDA NASSAR
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Dated:    ~q/,'-llitn I



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